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Paps i of |

BILL OF LADING HO aa Ht

, Pro
Non-Negotiable 27
"ras a 00. of
RLCEIVED, subject to the "COMMON CARRIER RATE AGREEMENT” or the CONTRACT between the Shipper and Carrier in effe, a ee persis gain an an ca asept
as noted | and fh ot of packages uoknas in}, niarked. consigned and destined as shown below, This Bill of (Lading is not subyect to any tariffs of classifications whether ind idually determi ned or
Fled with any federal ov state regulatory agency except as specifically agreed tn in wring by the shipper and the carrier
Shipper SAMUEL, SON & CO Consignee KKM PRECISION [NC
6415 F CORVETTE ST 5201 CONVAIR DR.
LOS ANGELES, CA 90040 CARSON CITY. CA 897106
Ball Freight To = SAMUEL. SON & CO- LOS ANGELES C/O KDL Ship Date 04 272016
800 N BFL AVE Purchase Order No.
SS BIL No 2016042700425
CARNFGIF, PA 15106
Order!SO No. 9925882-00
Shippers No
Carrier's No.
Oe ——— — —

Special Instructions:

|Handling Units tt . NMFC # Class | Weight Frei h Ch
Pleces aq | Description of Articles, Packages, Markings, Exceptlons Lhs. rcight Charges
@BUNDLES | 124 PIECES SS RD BAR 30 ena7 PrePaid
1 RCE 1 PIECE PACKING SLIP s0 ! Subyest ev Sections “aif the agnosia Poewven Shappey ated Catton, of Re sigan =
ous be deleted iethe goagnce without aauuse un the qeereyet, rhe
Total 0 pieces on 0 pallets , 7 loose pieces 6088 eeegenen shall sapretbec Polbersing, viancrarnt

The caneore shall aoe make delevery of this sbepenent wate pay mento fice ht
weed aM Law iu changes

SAMUEL, SON & CO 5
COD AMOUNT
5

Remit ( OD AMOUNT TO
CARRIERS COD FEE PAID BY;

rc

Shipper Consignee
FORM OF PAYMERT

rc
~
-

Company Check

Money Order

Cashier's Check

Other

Accepted in good order and condition, unless otherwise stated herein,
Carrier's lability ts for achual loss unless olherwise agreed in Appendix B to Common Cartier Rave =
Agreement, contract, or stated betow, The agreed or dechared value of the property us herehy specifically | PIECES
Mated hy the shipper to be aot exceeding S per pound Exceptions:

Shipper Driver load: Yes Na
me Placard Provided: Yes No
pet Doss Trucking .
(shipper or Shipper’s Agent Signature) —? a -~j-

Time & Date tendered AMIPM per eee ;
PERMANENT ADDRESS: = (Driver's Sumy ot) Ue

Time & Date tendered M PM

Shipper Certification Carrier Certification

This is to certify that the above named materials are properly classified, described, packaged, marked and | Carner acknowledges receipt of packages and required placards Currier certifies emergency respanse
labeled. and ate in proper condition fer Lranspeutation according to the applicable regulations of the information was made available and-ar carrer has the 1s of Transp gency reapans¢
Department of Transportes guidebook ar equivalent document in the vehicic
Per Date Per Package Nos.

Date

SAM-NPROO0018
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coos

PLEASE REMIT TO:
SAMUEL, SON & CO.

P. O. Box 935254

INVOICE NO.
3116826

Page

Inv date 01/11/2017

(USA) INC

SAMUEL, SON & CO. (USA) INC] Atlanta, GA 31193-5254 Order# 1016085-00
800-631-9765 Order date 10/20/2016
Rep-_437 PURCHASE ORDER NO. | | SHIPPED to: | SO1d:HAYW Ship: LOSA
SOLD To: AC#00041751 VBL LUKE
KKM PRECISION INC. KKM PRECISION INC.
5201 CONVAIR DRIVE 5201 CONVAIR DRIVE
CARSON CITY, NV 89706- CARSON CITY, NV 89706-
USA RICH DOSS Prepaid
ORDER PRODUCT DESCRIPTION QTY. UNIT PRICE U/M | AMOUNT
Qry DELIVERED
** THIS IS A REPRINT **
RY wese we we awe ew we ee Ss kk
1208S 416 Round Bar 1.250" X 144 RDM" 1.86 11,089.32
EA 5,962.00 LBS)
Ship date Jan 10th 2017 not before unless] Luke rel
reses it earlier.

Standard Terms: Net 30 Days % Sales| Tax... Tax Exempt
For Samuel standard Terns and Condition of Sale, please refer to PAY THIS AMOUNT
http://www. samuel,comen/AboutSamueUPages/Tenns.aspx. Our delivery or attempt to deliver the Goods $ 11,089.32
constitutes your unqualified acceptance of the Terms and Conditions.

Ssminfri- ORU101

SAM-NPROO0019

Customer P.O. Carrier Instructions

VBL LUKE RICH DOSS Prepaid Ly | | __]

Ship To ‘eT — LU
KEM PRECISION INC.

5201 CONVAIR DRIVE
CARSON CITY, NV’ 89706

LUKE MCINTIRE 775-246-5444

Sold To
41751 KKM PRECISION INC.

HAYWARD, CA 94544
Phone 800-631-9765, Fax

866-314-3726

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Order# 1016085-00

Promise 1/10/17

Ship 042 LOSA Rep. GW /RV

Line

Package# Pcs
3412288 19
3412289 23
3412290 21
3412291 14
3412292 29
3412293 14

Ship date Jan 10th 2017 not before unless Luke rel

eases it earlier.
---> MTR With Delivery

tem Qty Ordered Qty Shipped| Back Ordered; Product Description
1 120 EA 120 BA SS 416 Round Bar 1.250" xX 144 RDM"
5962 LBS

Heat /Lot#
37004
37004
37004
O63F

207L
G22544

>

Driver Signature g
JL He

“L“  gofPackages Unit#

Packages... 6

Weight..

5962

01/10/17 20:59:37

Customer Signature

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# Of Packages

Comments Or Delivery Notes

Shipping

A ded ca

“ TERMS OF SALE AND ACCEPTANCE

e

© Sales of the goods described on this shipping document are subject to the Sale Agreement on the reverse side of this document. Customer's acceptance of delivery constitutes
7 Customer’: unqualified acceptance of the terms and conditions of the Sales Agreement. Quality and condition claims must be made within ten (10) days of receipt of material.

oO
O
Customer Signed Receipt (POD)

-e. Thank-You For Your Business ...

www.samuel.com

packsl3

SAM-NPROO0020
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Request: 6576926
Samuel, Son & Co., LTD.

KKM PRECISION INC. POH VBL LUKE
SSM Order # 1016085-

SSM
Order Customer # of
Line# Job# Part# Heat /Lot# tags

1 SS 416 Round Bar 1.250" X 144 RDM"

37004 (3)
063F (1)
207L (1)
G22544 (1)

SAM-NPROO0021
